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IN THE UNITED STATES DISTRICT COURT 35 ” ~/ ’?/”/" (9_.
FOR THE wESTERN DISTRICT OF TENNESSEE ”/;E f; ;j)¢~”? g jj /J)`
EASTERN DIVISION ‘--'¢'f`/;T/(-/LS_` § J”Y;Z;»/. .,
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UNITED STATES OF AMERICA
vs CR NO. 1;05-10006-01-T
MICHAEL DEON CARR
ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on June 24, 2005, Assistant U. S. Attorney,
J`ames W. Powell, appearing for the government, and the defendant appeared in person
and with counsel, David W. Carnp, who was retained..

With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts 1 of the One Count Indictment.

This case has been set for sentencing on Fridav . Sel)tember 23. 2005. at 8:30

The defendant is allowed to remain on his present bond..
IT IS SO ORDERED.

A»M

J D. TODD
UN D STATES DISTRICT JUDGE

DATE: 2¥ va¢ MS/

This document entered on the docket sheet |n compliance
with Rule 55 and/or 32(1)) FFlCrP on

 

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ENNESSEE

 

.l ames W. Powell

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Honorable .l ames Todd
US DISTRICT COURT

